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                    IN THE UNITED STATES COURT OF APPEALS
                        I    FOR THE ELEVENTH CIRCUIT

                                   CaseNo.:22-11541-HH



JAMES DARYL WEST,
              Appellant,

V.


SABRINA SCHULTZ,
Food Service Employee,
DIANN SPRATT,
Food Service Employee,
WEXFORD HEALTH SOURCES,INC.,
A Corporation,
              Appellees.




On Appeal from the United States District Court ofthe Middle District Florida
                                     Fort Myers Division


                              Case No.: 2:16-CV-694-SPC-NPM



                             APPELLANT’S INITIAL BRIEF




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                                                    mi#
                                                           aryl Wej
                                                   James Dai              314
                                                   Saio Palm Re-Ei     Center
                                                  506 Bay Bottom Road
                                                   Pahokee,FL 33476
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                      CERTIFICATE OF INTERESTED PERSON AND
                        CORPORATE DISCLOSURE STATEMENT


       Pursuant to FRAP 26.1 and 11* Cir. R 26.1, Appellant hereby eertifies that the following

is a list of all persons and entities that have an interest in the outcome ofthis case:

1.     James Daryl West, Appellant/Plaintiff;
2.      Wexford Health Sources, Inc., Appellee/Defendant(not publicly held);
3.     Diana Spratt, Appellee/Defendant;
4.     Sabrina Schultz, Appellee/Defendant;
5.     Florida Department of Corrections (state agency);
6.      Covery’s Specialty Insurance Company, Appellee/Defendant’s Liability Insurer;
7.     The Bontry Group, as the Parent Corporation of Wexford Health Sources, Inc. (not
       publicly held);
8.      Maria Rives, Asst. Attorney General, Appellee/Defendant’s Counsel;
9.     Devang Desai, Esq., Gaebe, Mullen, Antonell & Di Matteo, Appellee/Defendant’s
        Counsel;
10.     Alexander Doihbrowsky, Esq. and Mary Katherine Hunter, Esq., Chimpoulis
       Hunter, P.A., Appellee/Defendant’s Former Counsel;
11.    Emily C. Smith, Esq., Formerly with Gaebe, Mullen, Antonell & Di Matteo;
12.     Melissa Thibeault, Esq., and Stanley Plappert, Esq.,the Florida Legal Advocacy Group,
       Appellant/Plaintiff’s Former Coimsel;
13.    Honorable Sheri Polster Chappell, United States District Judge, Middle District Ft. Myers
       Division

14.    Honorable Nicholas P. Mizell, United States Magistrate Judge, Middle District Ft. Myers
       Division

                         B. CORPORATE DISCLOSURE STATEMENT


       Appellant certifies that no public-traded stock, equity, or debt may\be substantially

affected by the outcome ofthe proceedings.




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                      STATEMENT REGARDING ORAL ARGUMENT

         Appellant in his initial brief requests this Court to grant oral argument in conjunction

with the district court’s granting the Appellee’s motion for summary judgment and dismissing

Appellant’s claims with prejudice despite the court’s opinion dated January 28, 2022. The
district court found that ordering Appellant to greatly exceed the lifting limitations prescribed by

Dr. Berrios was so obviously wrong that any reasonable official would have known it violated

the Constitution. The district court also found that Schultz and Spratt violated the Eighth

Amendment by ordering him to carry 75 lb. bags of vegetables against doctor's orders.

Appellant’s requests oral argument to address his Monell claim against Wexford Health Sources

as having a long and well documented history of denying non-emergency care such as "elective"

surgeries and specialist’s consultations. Oral argument is necessary to resolve the issues in this

case.   Oral argument will aid the Court in deciding whether the district court’s abused its

discretion in granting summary judgment in Appellee’s favor without holding an evidentiary

hearing. Appellant is pro se and is in need of covmsel to represent him in untangling the web that

has been weaved by the Appellees who have clearly done everything in their power to have his

case dismissed as frivolous.
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                            .TURISDICTIONAL STATEMENT


       The Appellant Court has subject matter jurisdiction under 42 U.S.C. § 1331(a) because

the complaint raises a question whether the Appellees violated the Appellant’s rights under the

United States Constitution. This Court has appellate jurisdiction under 28 U.S.C. §1291 because

the grant of summary judgment to the Appellees is a final judgment. Judgment was entered

February 23,2022 and Appellant notice of appeal was filed on April 9,2022.



                              STATEMENT OF THE ISSUES


1.     Whether the district court in granting summary judgment improperly decided disputed

factual issues.


2.     The district court abused its discretion by not drawing all inferences in favor of the

Appellant that would have precluded summary judgment.



                                STATEMENT OF THE CASE


       This is a § 1983 filed by Appellant who is housed at Sago Palm Reentry Center seeking

damages based on deliberate indifference to his serious medical conditions and his conditions of

confinement claims. Appellees were granted summary judgment and the case dismissed in favor

of Appellees.




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                                   SUMMARY OF ARGUMENT


1.     Appellee Spratt was deliberately indifferent to Appellant’s serious medical needs and

conditions of confinement in violation ofthe Eight Amendment.

2.     Appellee Spratt was deliberately indifferent by not honoring Appellant’s medical passes

and forcing him to perform assignments beyond his physical capabilities while being cane

dependent.

3.     Appellee Spratt forced the Appellant to sit on an upside down trashcan and chop zucchini

all day despite his pleas of vmbearable pain and numbness.

4.     Appellee Spratt threatened to have Appellant placed in confinement for refusing to work

if he did not follow her orders.


5.     The district court abused its discretion by dismissing Sabrina Schultz as a defendant

because the U.S. Marshalls could not effectuate service on her despite numerous attempts.

6.     Wexford had a policy in place denying elective surgeries such as orthoscopic knee

surgery and outside specialist’s consultations.

7.     Wexford’s policy of providing conservative or ineffective care and treatments known to

be ineffective.


8.     Wexford’s chief health officer’s actions were deliberately indifferent in annotating the

Appellant’s radiologist’s reports as "abnormal" and placing them in the medical records without

further evaluation.


9.     Wexford’s policy of restricting non-emergency medical treatment tied the hands of

Wexford’s employees preventing Appellant from, at a minimum, a recommendation to see the

appropriate specialist.

10.     Appellant placed sufficient evidence in the record that a reasonable jury could have


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found, in fact, that there existed genuine issues of material fact denying that a reasonable jury

would have precluded summary judgment in favor of Appellees.

11.    The district court erred in granting counsel’s request to withdraw as Appellant’s counsel

after he wrote them a letter complaining about their representation and the handling of certain

issues. This letter was only written as a cry for help. Never did the Appellant think that

Magistrate Judge Mizel would allow Melissa Thibeault and Stanley Plappert of the Florida Legal

Advocacy Group to withdraw as counsel without holding, at a minimum, a telephonic hearing to

resolve the dispute.

                                          ARGUMENT


       The district court abused its discretion by entering summary judgment in favor of the

Appellees Diana Spratt, Sabrina Schultz, and Wexford Health Sources, Inc. by dismissing

Appellants claim's with prejudice on February 23, 2022 Appellant filed a timely notice of appeal

on April 9, 2022. On December 2, 2022 this Court issued its order finding that the appeal is not

frivolous and GRANTS LTP. In the same order the Court issued a briefing schedule giving the

Appellant until January 11, 2023 to file his initial brief. On January 3, 2023 the Appellant filed a

motion for enlargement of time. On January 19, 2023 this court dismissed the appeal for want of

prosecution. Appellant on February 20,2023filed his motion to suspend Rule 42-2(e). Appellee

Wexford filed their response in opposition to Appellant’s motion to suspend Rule 42-2(e) and

reinstate appeal. On April 20, 2023 Appellant filed his reply in opposition to Appellee Wexford's

response to Appellant's motion to suspend Rule 42-2(e) and reinstate appeal. On April 18, 2023

this Court issued its second opinion granting the Appellant's motion to file his initial brief and

reinstate his appeal. A new briefing schedule was given ordering the Appellant to file his initial

brief on or by June 18, 2023.



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        In the Appellant’s fourth amended complaint only three of Appellant’s claims survived

Appellee’s challenges under F.R.C.P. 12(b)(6). The district court’s opinion dated January 28,

2021 found Schultz and Spratt violated the Eight Amendment by ordering Appellant to carry 75

lbs. bags of zucchini against doctor's orders. The Court also found that ordering Appellant to

greatly exceed the lifting limitations of 15 lbs. prescribed by Dr. Berrios was so obviously wrong

that any reasonable official would have known it violated the Eight Amendment under the

United States Constitution. At the summary judgment stage the Eleventh Circuit should be able

to find several issues of material fact that should have precluded the district court from granting

summary judgment in favor ofthe Appellees.

       The district court was obligated to evaluate the summary judgment record in a light most

favorable to the Appellant as the non-moving party. The Appellant demonstrated that there were

numerous issues of material fact that exist as to Wexford’s customs and policies. Wexford can

only be liable if the alleged constitutional harm is the direct result of a custom or policy. “A

policy is a decision that is officially adopted by the municipality or created by an official of such

a rank that he or she could be said to be acting on behalf of the municipality and a custom is a

practice that is so settled and permanent that it takes on the force of law.” When a district court

considers a motion for summary judgment it “must view all the evidence and all factual

inferences reasonably drawn from the evidence in the light most favorable to the nonmoving

party and must resolve all reasonable doubts about the facts in favor of the non-movant.” Rioux

V. City ofAtlanta. Ga., 520 F.3d 1269,1274(11* Cir. 2008).

       The court’s role is not to “weigh the evidence and determine the truth of the matter but to

determine whether there is a genuine issue for trial.” Anderson. “If a reasonable fact finder

evaluating the evidence could draw more than one inference from the facts and if that inference



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introduces a genuine issue of material fact, then the court should not grant summary judgment.”

Allen V. Board ofPub. Educ. for Bibb County, 495 F.3d 1306, 1315 (11“’ Cir. 2007). The Eight

Amendment prohibits “cruel and unusual punishment and imposes a duty on prison officials to

take reasonable efforts to ensure that inmates receive adequate medical care under the

constitution.   Farmer v. Brennan, 114 Ct. 1970 (1994). Summary judgment is improper if a

reasonable fact finder evaluating the evidence could draw more than one inference from the facts

and if that inference introduces a genuine issue of material fact. The pleadings, answers, to

interrogatories, affidavits, depositions, and admissions, on file show the Appellant is entitled to

judgment as a matter of law. The district court erred in granting summary judgment in favor of

the Appellees. The Appellant is requesting this Honorable Court to reverse the decision for

summary judgment and remand this case for trial. Jeffery v. Sarasota White Sox Inc, 64 F.d

590, 594(11th Cir.1995). An issue of fact is "material" if it might affect the outcome of the case

under governing law. Anderson v. Libery Lobby Inc, 477 U.S. 242,248(1986).

       It is "genuine" if the record taken as a whole could lead a rational trier of fact to find for

the Appellant who is the non-moving party. As the opposing party the Appellant’s inferences

need not be more probable than those inferences in favor of the Defendants to create a factual

dispute, so long as they can be reasonably drawn from the facts. When more than one inference

reasonably can be drawn it is for the trier of facts to determine the proper one. WSB-TV v. Lee,

842 F.2d 1266,1270 (11th Cir.1988)("Thus if a reasonable fact finder evaluating the evidence

could draw more than one inference from the facts and if that evidence introduces a genuine

issue of material fact than the reviewing court should not grant summary judgment"). Appellant

cited Hartman v     Correctional Medical Services Inc„ 960 F. Supp. 1577 (M.D. Fla, Dec 30,

1996) "the district court must cull the universe when drawing all possible inferences in favor of


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the appellant." The Appellant placed in the record a chronological record of health care as

evidence to support his opposition to the Appellee’s motions for summary judgment.

       The district court concluded in its February 23,2022 opinion and order that no reasonable

jury could find that the Appellees were deliberately indifferent to Appellant West’s conditions of

confinement or his serious medical needs. The district court then found it wildly implausible and

unsupported by any evidence that five weeks in foodservice exacerbated West’s conditions in

any significant way. Although not a model of clarity Appellant through his motions, responses,

interrogatories, affidavits, affirmative answers and exhibits clearly shows that there were several

genuine issues of material facts that clearly existed precluding summary judgment.

       The Court has previously found that Schultz and Spratt violated the Eight Amendment by

ordering him to carry 75 lbs. bags of vegetables against doctor's orders. The Court finds West's

allegations sufficient to state a claim against Wexford for deliberate indifference. The Appellant

accused FDOC officials of violating his constitutional rights under the Eight Amendment by

forcing him to perform duties that exacerbated his pain clearly violating his medical passes.

Melton V. Abston, 811 F.2d 1207(llthCir. 2016).

                                            ISSUE I
SPRATT WAS DELIBERATELY INDIFFERENT TO APPELLANT’S SERIOUS
MEDICAL CONDITIONS AND CONDITIONS OF CONFINEMENT BY NOT
HONORING HIS VALID MEDICAL PASSES COMPELLING HIM TO EXCEED
DOCTOR BERRIOS’ WRITTEN ORDERS


       Appellant West filed a civil rights complaint against Appellees Spratt and Schultz who

were his immediate supervisors when scheduled to work. Both were deliberately indifferent to

his serious medical conditions and his conditions of confinement by forcing him to work in

foodservice despite being a handicapped inmate who depended on a cane to support his

ambulation. These medical passes proscribed the following: restricted activity; light duty; no


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prolong standing over 10 minutes; no pushing, pulling or bending; no lifting over 15 lbs.; the use

of a cane for one year; orthopedic shoes; insoles with arch supports; and a knee brace. These

medical passes would have excused him from his foodservice assignment at any other institution
in Florida’s prison system which is in violation of the Eight Amendment. In Appellant’s

response to Spratt’s motion for summary judgment he included as his own exhibit, which Spratt

listed as her own exhibit, a FDOC internal history of Appellant’s movements and work

assignment history clearly showing that every time that he had been erroneously assigned to

foodservice he had been told by staff or the foodservice director "you do not have report and you

will be reassigned."

       In Appellant’s fourth amended complaint Appellant stated plausible claims against Spratt

and Schultz for violating the clearly mandated policies and procedures of FDOC and Aramark.

As stated by Appellee Spratt throughout her summary judgment motion and her pleadings,

responses including her deposition, affidavit, and interrogatories, she is very clear that inmates,

including the Appellant, who are cane dependent are not allowed in foodservice because in the

prison setting a cane is a weapon yet despite this fact Appellant was constantly threatened on a

daily basis he would be placed in confinement for refusing to work.

       The Appellant would state that Spratt and Schultz were deliberately indifferent to his

conditions of confinement by intentionally requiring him to perform duties that violated Doctor

Berrios’ written orders.


       Both Spratt and Schultz forced the Appellant to sit on an upside down trashcan and chop

zucchini and carrots all day in addition to lifting and carrying these bags of vegetables either

from the vegetable cooler or from a stack. On June 27th, 2015, Schultz unlocked the cooler and

ordered the Appellant to carry the bags of zucchini from the stack (bags weighing approximately


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75 lbs.) while being cane dependent which caused him to lose his balance and the bag came

crashing down on top of him. This caused serious injury of immediate pain and numbness

throughout his entire body. As a direct result medical was called and the Appellant was taken to

medical in a wheelchair.


       Appellant must prove that Appellee Spratt violated his Eight Amendment by subjecting

him to cruel and imusual punishment. Both the objective and the subjective requirements must be

met in cases pertaining to prison conditions. First, the constitutional deprivation must have been

objectively and sufficiently serious. Farmer v. Brennan, 511 U.S. 825, 834(1994). The objective

prong of an Eight Amendment claim is contextual and responsive to contemporary standards of

decency. Hudson v. McMillian, 503 U.S. 1, 8 (1992)(quoting Estelle v. Gamble, 429 U.S. 97,

103 (1976) "Extreme deprivations are required to make out a conditions of confinement claim.

It’s only those deprivations denying the minimal civilized measures of life’s necessities that are

sufficiently grave to form the basis of a Eight Amendment violation,           '). Appellant was

handicapped with numerous medical passes good for one year and the fact Appellant was cane

dependent and confirmed by Spratt throughout her pleadings substantiated he was subjected to a

substantial risk of serious harm when she forced him to work daily in foodservice. She was

aware that the Appellant faced such risks yet she disregarded those risks by failing to take all

reasonable measures to abate said risk by causing him to be subjected daily to cruel and unusual

punishment and the uimecessary infliction of pain and suffering.

       Alexander v. Barefield. 2007 U.S. Dist. LEXIS 103067 (N.D. Fla. June 7, 2007 )

("Denying summary judgment but noting that the parties have not cited and the undersigned has

been imable to loeate any published Eleventh Circuit cases applying the Eight Amendment

deliberate indifference standards in the work place safety context").



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       The only published authority in the Eleventh Circuit that the Appellant could locate was

Roberts v. Horton. 2013 U.S. Dist. LEXIS(N.D. Fla. Nov 4th 2013)("The unopposed motion for

summary judgment should be granted in part and denied in part. This is not a generie conditions

of confinement case but a more specific case concerning a prison work assignment which is the

subset of conditions of confinement case"). Appellant is requesting that the Court of Appeals

allow his case to set the standard applying the Eight Amendment deliberate indifference in the

prison work place safety standard. Unfortunately in Horton or Alexander these cases do not give

the Court much guidance in showing what amounts to an extreme deprivation denying Appellant

the minimal civilized measures of life’s necessities that were sufficiently grave to form the basis

of his Eight Amendment claim against Spratt.

       Appellant has provided this Court with the following authority clearly showing the

foodservice director at Charlotte Correctional, Robert Gilbreath, has had a history of abusing his

authority by compelling his staff to force inmates to perform work duties beyond their physical

limitations. Salmon v. Aramark. 2010 U.S. Dist. LEXIS 124949 and Salmon v. Aramark. 2010

U.S. Dist. LEXIS 91424, (" Robert Gilbreath and Tammy Williamson, required plaintiff to

perform labor beyond his physical abilities and did so under the threat of punishment which

included being placed in segregation with loss of all privileges").

       As stated by Spratt throughout her pleadings she is firm in stating "in the prison setting a

cane is considered a weapon" and if any inmate tried to enter foodservice and work, security

would immediately ask the inmate to leave." In fact the total opposite occurred. Spratt compelled

Appellant to work and he was never asked to leave which constituted cruel and unusual

punishment. Appellant can show the required deliberate indifference during prison work

assignments he was subjected to by showing that prison officials ignored a pervasive risk of



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harm, although this risk ordinarily cannot he shown by a single incident. As stated by the district

court in its opinion dated February 23, 2022 this went on for a period of five weeks clearly

demonstrating this was not a single incident.

       Appellee Spratt’s answers to Appellant’s interrogatories dated August 17,2021

Interrogatory No. 6       Was it common practice at Charlotte Correctional while you were

employed to have inmates that were cane dependent work in foodservice and how many cane

dependent inmates worked in foodservice ?

Answer No. 6     It was not common practice to have inmates that were cane dependent work in

foodservice because inmates with canes are not supposed to be in the kitchen.

Interrosatory No. 14     Please explain why you ordered the Plaintiff to lift and carry the 751b.

bags knowing he was cane dependent and making it impossible for him to perform? Please

explain.

Answer No.14      See answer No.6.


Interrosatory No 19      As stated in answer 6, the Plaintiff would not have been able to come

into the kitchen with a cane, which is considered to be a weapon in the prison setting. If any

inmate tried to do so security would have asked that inmate to leave the kitchen. I do not reeall

the events from six years ago. I do recall that inmate West was only issued a cane pass for only a

few days. My usual practice was to honor all medical passes. Was there a custom or policy in

place while you were working in foodservice that allowed you to work inmates, such as the

Plaintiff, that were cane dependent and [in possession of] numerous medical passes with extreme

limitations? Please explain.

Answer No. 19        As to "cane dependent" and "extreme limitations." Without waiving the

objections there was no custom or policy in place while I worked in foodservice that allowed you



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to work inmates in violation of medical passes, but I do not believe or admit that inmate West

was ever in that situation.


       Appellant would include Spratt’s deposition October 3, 2019, on page 6, lines 20-25
through page 7, lines 1-12 where Appellant’s former counsel Melissa Thibeault of the Florida
Legal Advocacy Group questioned Spratt and by her own admissions to the questions, she
repeatedly answers she personally honored all the medical passes.

Formor Counsel Melissa Thibeault — asked the questions:


       Q.      As part of your training, did anyone go over inmate work passes with you?


       A.      Yes.



       Q.      And what were you told about that?


       A.      You have to honor the pass. You have to make sure that they have the correct

       pass. If the pass they give you, you have to honor every bit of it. You can't deny anything.


       Q-       And did anybody you worked with ever not honor an inmate pass?


       A.      I can't answer that either.



       Q.       Did you ever see that happening?


       A.      I can't answer that either. I wasn't around if anybody gave anybody else a pass. I

can't — you mean myself?


       Q.      Right. So you personally always honored passes; correct?


       A.      Yes ma'am.




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       By Spratt’s own admissions she is clear on always honoring the Appellant’s medical

passes. So the issue of material fact should be clear, based on the records, that Spratt did in fact

compel the Appellant to work despite being cane dependent.


       Spratt never honored these medical passes and required Appellant to have a "bed resf or

lay-in" in order to be excused from his job assignment in foodservice. These passes were only

valid for three days at a time.

       The Appellant did not have a bed rest lay-in pass because the current one expired after 3

days. In order to receive a new medical pass for a bed rest lay-in the Appellant would have to

self-initiate a medical emergency at foodservice in order to receive a new pass.

       This unwritten policy was used by Spratt to compel the Appellant to pick and choose to

either work or go to confinement. Spratt had the authority to excuse Appellant from his

assignment. She knowingly decided to place him at a substantial risk of being injured despite

Appellant having all the above-cited medical passes including the cane pass. Spratt also had a

policy of compelling Appellant to work in foodservice while being cane dependent contradicting

the policies of the FDOC and her employer Aramark who, according to Spratt, would prohibit

Appellant from working in foodservice while being cane dependent. This clearly violated the

evolving standards of decency that mark the progress of a maturing society.


       Appellant would affirmatively state that Spratt was deliberately indifferent to his serious

medical conditions because she knew there existed an excessive risk of serious harm by

compelling him to work. The district court stated “Spratt consistently states that she always

honored medical passes.” If that’s the case why did Spratt decided to compel Appellant to exceed

his passes restrictions and limitations?



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                                            ISSUE II


THE DISTRICT COURT ABUSED ITS DISCRETION DISMISSING SABRINA
SCHULTZ AS A DEFENDANT WHEN THE UNITED STATES MARSHALL FAILED
NUMEROUS TIMES TO EFFECTUATE SERVICE


        The district court abused its discretion by later dismissing the claim against Schultz under

Rule 4(m) for lack of service of process. For prisoners proceeding in forma pauperis, "[t]he

officers ofthe court shall issue and serve all process." 28 U.S.C. ^ 1915(d).

The Eleventh Circuit has held that the failure of the U.S. Marshals Service's to serve a defendant

on behalf of an in forma pauperis plaintiff, through no fault of that plaintiff, constitutes "good

cause   under Rule 4(m^. Ranee v. Rocksolid Granit USA, Inc., 583 F.3d 1284, 1288 (11th Cir.

2009). The Eleventh Circuit has further held: It is unreasonable to expect incarcerated and

unrepresented prisoner-litigants to provide the current addresses of prison-guard defendants who

no longer work at the prison. Thus, ... as long as the court-appointed agent can locate the

[imserved] defendant with reasonable effort, prisoner-litigants who provide enough information

to identify the prison-guard defendant have established good cause for Rule 4(m) purposes.

Richardson v. Johnson. 598 F.3d 734, 739-40(11th Cir. 2010).

        Back on May 16, 2008 Magistrate Judge Mirando appointed a special appointee to serve

the Defendants. The special appointee returned the summons issued to Schultz unexecuted

because she no longer worked at Charlotte Correctional. (Doc. 54). It was not until November

20, 2018 that the magistrate judge ordered the U.S. Marshals to serve Schultz. The Court became

aware of service not being effectuated on Schultz through the process of a waiver-of-service

packet by mail but Schultz did not waive service. (Doc. 139). Immediate action should have

taken place to secure her presence yet months turned into years without service ever taking place.




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Because of this Appellant has been severely prejudiced because Schultz has been erroneously

dismissed despite her being found deliberately indifferent to his conditions of confinement.

       On October 18, 2019 Appellant, through counsel, requested that the U.S. Marshals

personally serve Schultz.(Doc. 188). The Court then denied the service motion without prejudice

and ordered Appellant, again through counsel, to seek defense counsel’s agreement to accept

service before moving the U.S. Marshals to serve them.(Doc. 194). The district court abused its

discretion by dismissing Sabrina Shultz under Rule 4(m)for lack of service of process. The U.S.

Marshall sent Schultz a waiver of service packet by mail but Schultz did not waive service.(Doc.

115). On January 6, 2021 Appellant moved the U.S. Marshalls to personally serve Schultz.(Doc.

228). Magistrate Judge Mizell granted motion and ordered the U.S. Marshalls to personally serve

Schultz at the address on file. (Doc. 244). Again the U.S. Marshalls returned the summons

unexecuted because the address was vacant and the neighbors were unable to provide a new

address for Schultz. The magistrate judge then ordered the Appellant to provide a new address

for Schultz.(Doc. 248)and (Doc. 249).

       Appellant filed a motion for a revised order to effectuate service on the defendant Schultz

stating he was unable to provide a current address. Counsel also stated that Schultz no longer

worked for FDOC and did not know Schultz’s address. That was the end of the inquiry until the

district court issued another opinion and order on May 10, 2021 giving a chronological order of

trying to effectuate service on Schultz. (Doc. 264). Appellant filed an emergency motion to

reconsider this Court’s opinion and order dated May 10, 2021 (Doc. 271). In the court’s opinion

and order (Doc. 278) the claim against Schultz is dismissed without prejudice under F.R.C.P.

4(m) because she has remained unserved for nearly 5 years. Appellant argued that dismissing

Schultz would be “unfair punishment.” The district court and the United States Marshals have


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failed to effectuate service on Schultz. On two separate occasions packets were sent by mail,

both going unserved. Likewise an attempt was made to personally serve her.

       Appellant’s counsel never requested defense counsel to accept service on behalf of

Schultz.(Doc. 258). The main problem with inmate’s proceeding in forma pauperis pursuant to

28 U.S.C. 1915(d), is that they must depend on the U.S. Marshall’s Office to effectuate service.

It’s the district court and U.S. Marshal’s office who ultimately failed him. From the very

beginning through no fault of Appellant the court was aware of the difficulties in effectuating

service on Sabrina Schultz. The district court has unlimited resources and could have had a

private service processer effectuate service on Schultz to secure her presence.

       Appellant is requesting that this court reverse the district court’s order, reinstate Schultz

as a Defendant in this case and also remand back to the district court to issue a revised order

compelling the U.S. Marshals to effectuate service on Sabrina Schultz requiring her response to

the Appellant’s fourth amended complaint.

                                           ISSUE III


WEXFORD HEALTH SOURCES HAD A WELL DOCUMENTED CUSTOM POLICY
OF DENYING NON EMERGENCY CARE IN DELIBERATE INDIFFERENCE TO
APPELLANTS SERIOUS MEDICAL NEEDS


       The district court erred by granting summary judgment in favor of Wexford because the

Appellant had established a genuine issue of material fact in his claim against Wexford.

Appellant did provide evidence of a custom policy. Wexford Health Sources Inc. was the private

company under contact with FDOC and provided healthcare to all inmates in region 4,

specifically Charlotte Correctional, J&om October 2014 until September 11, 2015 where the

Appellant was housed at the time. Wexford is treated as a municipality for purposes of 1983

claims. Brennan v. Headley. 907 F. App’x 927, 937(11^'’ Cir. 2020).


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       In the Eleventh Circuit a serious medical need is one that has been diagnosed by a

physician mandating treatment or one that is so obvious that a layperson would easily recognize

the necessity for a doctor’s attention. Shaw v. Allen. 701 F. App’x 891, 93 (iF** Cir. 2017)
(quoting Farrow v. West, 320 F.3d 1235, 1243 (IF’’ Cir. 2003). Therefore West plausibly alleges

that each Defendant was deliberately indifferent to his serious medical need. Deliberate

indifference has three components: “(1) subjective knowledge of a risk of serious harm; (2)

disregard of that risk; and (3) conduct that is more than mere negligence.” Binsham v. Thomas,

654 F.3d 1171, 1176(1F’’ Cir. 2011).

       Several of Wexford’s medical personnel diagnosed the Appellant with chronic

degenerative disk and joint disease in his lower lumbar spine, right knee and both feet and as a

direct result of these extremely painful conditions numerous medical passes were written to

excuse him from being subjected to the daily conditions of prison life. These medical passes

were for restricted activity; light duty; no prolong standing over 10 minutes; no pushing, pulling

or bending; no lifting over 15 lbs.; the use of a cane for one year; orthopedic shoes, insoles with

arch supports and a knee brace. In the district court’s opinion and order dated February 23, 2022

the Court erroneously states "The medical staff also periodically issued West medical passes

limiting his activity." This statement is not true; all of Appellant’s medical passes were written

and valid for 1 year. These passes have been written since the Appellant’s inception into the

prison system.

       Wexford Health Sources is a private company that provided healthcare to inmates at

Charlotte Correctional and was under contract with the FDOC. Appellant clearly alleged

plausible claims to state a cause for action for deliberate indifference. In count 3 of his complaint

Appellant stated a plausible claim that Wexford had a policy of restricting non-emergency care


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and elective surgeries. This policy of restricting non-emergency medical treatment tied the hands

of Wexford’s employees preventing Appellant from receiving more intense treatments and left

him in severe pain.

       Dr. Joseph Rashkin evaluated West on August 29, 2019 and opined, "the lack and delay

of medically necessary and indicated medical care in the form of diagnostic studies, appropriate

medical consultation and care has significantly prolonged, worsened, and been detrimental to

[WestJ's state of ill being from the injury/accident. Rashkin recommended an MRI, though he

applied somewhat circular logic to justify it: “My opinion that this is a permanent injury is based

on the prolonged clinical complaints, positive physical findings of muscle spasm and pain, and

abnormal MRI scan that needs to be obtained to be able to render an opinion of permanency

because of the injuries described above from the accident of 06/27/2015 and also to be able to

render reasonable and medically necessary treatment for the above described state of ill being.”

       District Judge Sherri Polster Chappel in her opinion and order dated January 28,

2021states:   West suffered from the following conditions; chronic strained lumbosacral

ligament, lower back pain, chronic and intervertebral disc disorder, thoracolumbar, and

lumbosacral lumbar disc disorder/hemia, lumbar spondylitis, right-sided sciatica and left sided

muscle spasms, injury to the muscle, fascia, and tendon of his lower back, premature

degenerative osteoarthritis, and localized secondary osteoarthritis ofthe right knee.”

       Severe pain that is not promptly or adequately treated can constitute a serious medical

need depending on the circumstances. Melton v. Abston, 841 F.3d 1207, 1222 (11* Cir. 2016).
Interpreting West’s allegations in a light most favorable to him the Court fovmd he plausibly

alleged a serious medical need. The district judge erred in dismissing the Wexford Defendants

Dr. Carmello Berrios, (count 4) and Karen Blankenship, ARNP, (count 5) that shows a


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difference in medical opinion, not deliberate indifference. The district court erroneously stated

Blankenship did not have subjective knowledge of a serious medical need on the 29* of June.
Appellant would point out that on June 29* he was seen by Blankenship at which time she was
fully aware of his serious medical needs. She refused to examine the right knee physically and

stated she did not have time to go through numerous medical records to see if Appellant was

lying. The district court erred in dismissing Bormie LaRosa (count 7). Each time LaRosa saw

Appellant she confirmed the right knee condition was caused by his ace bandage being too tight.

       The requirements of an Eight Amendment claim based on deliberate indifference to

conditions of confinement are similar to those medical deliberate indifference claims. A plaintiff

must satisfy objective and subjective criteria. Under the objective component the plaintiff must

demonstrate “a substantial risk of serious harm.” \Farmer v. Brennan, 114 S. Ct. 1970, 128 Ed.

2d 811 (1994)] ... Under the subjective component the plaintiff must prove “the defendants’

deliberate indifference” to that risk of harm by making three sub-showings: (1) subjective

knowledge of a risk of serious harm,(2) disregard of that risk and (3) conduct that is more than

mere negligence.” \Lane v. Philbin, 835 F.3d 1302, 1307(11* Cir. 2016)]; Swain v. Junior, 961

F.3d 1276,1285(11* Cir. 2020).

       West’s conditions of confinement claims are based on allegations that prison officials

ignored his medical passes. Berrios diagnosed West with osteoarthritis, degenerative joint

disease, and chronic knee pain and implemented a treatment plan that included limitations of

certain physical activities. The Court finds it plausible that an official’s disregard of West’s

preseribed limitations could create a substantial risk of serious harm- See Shaw, supra (“A

serious medical need is ‘one that has been diagnosed by a physician as mandating treatment or




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one that is so obvious that a lay person would easily recognize the necessity for a doctor’s

attention.’”).

        Appellant alleged that FDOC had a policy or custom of deliberate indifference that

caused Appellant injuries. As early as 2004 the Secretary of the FDOC was aware that

Wexford’s primary way to contain its costs was through tight utilization management which has

been the only deciding factor in denying effective pain medication and the additional diagnostic

testing that was known to be needed. These policies are included in numerous progress reports

by the Florida Legislature’s Office of Program Policy Analysis and Government Accountability

(OPPAGA) which describe the privatization of health services as one of the FDOC’s cost

containment measures. According to Plaintiff these cost saving customs and policies were the

driving force behind Plaintiffs daily suffering on a regular basis so Wexford could maximize

their profits. This has caused physical damage and deformity that is permanent and irreparable to

all Appellant’s weight bearing joints.

        Conn as CEO was directly responsible for the operations and medical management

services provided at Charlotte Correctional. He implemented and or enforced Wexford’s

cost-savings policy or custom, which caused Appellant to needlessly suffer. In the Appellant’s

complaint he raised issues regarding Wexford’s custom and policies of denying Appellant the

additional diagnostic tests such as M.R.I.S, specialist consultations and surgery on the right knee.

Wexford considered these types of surgeries as “elective.” Appellant was prescribed ibuprofen

600mg which was ineffective in relieving the chronic pain he suffered on a daily basis.

        All of Wexford’s doctors and nurses refused to address the issue regarding surgery of the

Appellant’s right knee because it was considered “elective” due to it not being life threatening.

FDOC and Wexford are responsible for institutional liability pursuant to their set institutional


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policies that clearly created an environment of deliberate indifference. Wexford’s policy of

denying “elective” surgeries qualified as a policy that was clearly and deliberately indifferent to

Appellant West’s serious medical needs. The radiologist reports clearly showed at the minimum

a specialist consultation should have been recommended so the correct diagnosis and treatment

could be given.

         This is not a case where there was a disagreement as to the type of care the Appellant was

receiving. The Appellant has stated all along that because of these policies he could not receive

the additional treatment and care needed to relieve the chronic pain and numbness that he

experienced then and still exists on a daily basis. Wexford’s policies were the driving force

behind the constitutional violations. Wexford has a long and well documented history of denying

non-emergency care, such as elective surgeries, and special’s consultations that actually were

qualified according to their own policy. This was deliberately indifferent to the Appellant’s

senous    medical needs. Wexford’s doctors and nurses assigned to Charlotte Correctional

examined Appellant yet simply refused to, at the minimum, make the reeommendations to

Wexford’s “Collegial Review.' Dr. Hemphill, Dr. Berrios, Dr. Wetterer and ARNP, Karen

Blankenship, became deliberately indifferent to Appellant’s needs by marking all the radiologists

reports as “abnormal” and just filing them without any follow up care that was reeommended by

the outside doctor who confirmed the additional diagnostic testing such as MRIs, this policy was

designed to control cost.

         Conn as CEO was directly responsible for the operations and medical management

services provided and responsible for the manner in which Defendants operated at Charlotte

Correctional. Plaintiff appears to allege that CEO Conn implemented and or enforced Wexford’s

cost savings policy or custom of inadequate care and treatment that was needed in order to



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relieve him of the chronic pain and suffering on a daily basis. It’s was these very policies that

tied the hands of Wexford’s employees to, at a minimum, make the necessary recommendations

to the appropriate specialists.

       The district court should have considered all the evidence Appellant placed in the record

by drawing all reasonable inferences in light most favorable to him as the non-moving party. The

Appellant included exhibits that clearly supported the elements of his case and disputed the

Appellees arguments. The district court abused their discretion by entering summary judgment

because they concluded that no reasonable jury could find that Defendants were deliberately

indifferent to the Appellant’s serious medical needs and conditions of confinement in violation

ofthe Eight Amendment.

        Appellant has stated all along that it was the ineffective care and treatment of Wexford’s

personnel that caused and aggravated his pain and suffering. Wexford has a long and

well-documented history of denying non-emergency care, such as elective surgeries which

qualify, as a policy that was clearly and deliberately indifferent to the Appellant’s serious

medical needs. Wexford’s doctors and nurses at Charlotte Correctional that examined Appellant

simply refused to, at a minimum, make the recommendations to Wexford’s “Collegial Review.

This policy was designed to control cost.

       Appellant in response to Wexford’s motion for summary judgment attached numerous

exhibits to support his claims against Wexford showing that they have a long history of these

widespread practices including the inadequate care and treatment that was needed in order to

relieve him of the chronic pain he suffered on a daily basis. It was these very policies that tied

the hands of Wexford’s employees to, at a minimum, make the necessary recommendations to




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the appropriate speeialists. Their aetions constituted deliberate indifference towards Appellant’s

serious medical needs.


       The only published authority in the Eleventh Circuit that the Appellant could locate was

Roberts v. Horton, 2013 U.S. Dist. Lexis 173025 (N.D. Fla. Nov. 4, 2013) “the unopposed

motion for summary judgment should be granted in part and denied in part”).

       Appellant created genuine issues of material fact by submitting documents of Wexford’s

own policies and utilization management guidelines in addition to their contract with FDOC,

which clearly showed that cost saving measures were in effect. Genuine issues of material fact

supports Spratt’s deliberately indifferent to the Appellant’s knee and back injuries. Wexford

employees were only providing conservative treatments they knew were ineffective. It was these

very employees who refused to, at a minimum, make the necessary referrals for additional

diagnostic testing or consultations of specialists.

       These documents were also cited in Horn v. Jones, 2015 U.S. Dist. LEXIS 73964 (" the

report found that a primary way Wexford contains its costs is through tight utilization

management and found that the quality of Wexford’s health care has been problematic. The

report identified postponement of specialty clinical visits as an issue of concern”). The district

court erred in denying Appellant’s attached exhibits (the following) which clearly show: 1)

Wexford’s history of widespread practices with verifying medical records, affidavits, medical

passes, 2) FDOC Health Service Bulletins, 3) FDOC’s contract with Wexford, 4) Wexford’s

Utilization Management Guidelines and also their Procedure and Policy Manual, 5) several

reports from the Correctional Medical Authority (CMA), 6) Office of Program Policy Analysis

and Government Accountability, an office of the Florida Legislature (OPPAGA), 7) and

numerous court decisions where Wexford has been found deliberately indifferent pursuant to



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their unconstitutional policies of denying "elective" surgeries such as orthoscopic knee

procedures, and outside specialist consultations. Additionally numerous newspaper articles from

the Miami Herald and BrowardBulldog.org, all have warned throughout the years that Florida’s

government has allowed Wexford to cut costs on the care and treatment being provided to the

inmates including, the Appellant, in order to maximize its profits. The district court stated West

caimot withstand summary judgment based on allegations alone. Appellant provided more than

enough evidence to preclude summary judgment. The depositions that were attached as exhibits

clearly show Wexford would not authorize certain treatments such as MRI's because they had to

pay the $275.00 fee. Wexford chief health officers (Hemphill, Berrios, Wetterer, Blankenship

(ARNP), and LaRosa (RN)), all knew of the chronic conditions but refused to provide the care

and treatments that were needed to relieve the pain and numbness.

       Appellant could not receive the additional care and treatment needed to relieve his pain

and he was refused specialist consultations and MRTs. Its these customs and policies that have

violated the Appellant’s constitutional rights causing him to suffer from pain then and now.

Gillis V. Ga, Dept ofCorr,400 F.3d 883, 884 ,n. 2(2005)("When reviewing a grant of summary

judgment we must review the facts in light most favorable to the non-moving party").

Hinson v. Edmond. 192 F.3d 1342, 1348 (11th Cir.1999)("holding a prisoner survived summary

judgment by creating a genuine issue of material fact about whether a doctor knew of his serious

medical condition and intentionally or with reckless disregard delayed treatmenf’). All of

Wexford’s medical persoimel clearly knew about the Appellant’s serious chronic degenerative

disc and joint disease. This Court has already stated this clearly qualifies as a serious medical

condition and violates the 8th Amendment if not treated accordingly. Melton v. Abston. 841 F.3d

1207, 1222(11th Cir. 2016).



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       Wexford’s Chief Health Officers at Charlotte Correctional allowed these cost saving

policies to severely restrict and deny all "elective surgeries," and outside specialist consultations,

and the additional diagnostic testing known to be needed such as MRI's. Appellant included

these jury verdicts in matters involving Wexford in other jurisdictions as undisputed evidence of

their history of "widespread and persistent practice” of denying inmates such, as the Appellant,

adequate medical treatment. Appellant would also point out that Wexford’s website uses the

word "touting" to describe its cost cutting policies regarding offsite specialty referrals. As a pro

se inmate it is extremely difficult to uncover evidence to support his valid claims against

Wexford having customs and policies of denying care that is not life threatening.

       Wexford has a history of requiring its medical personal at the institutional level to submit

all requests to its "Collegial Review Board." Dean v. Wexford Health Sources Inc. 18 F.4th 214,

222-22?) (7th Cir.2021) noting that Wexford’s collegial review policy "requires Wexford’s

corporate office to preapprove offsite care"). Appellant cites Seventh Circuit case law stating that

Monell liability does not always require a finding of individual liability. Whitins v. Wexford

Health Sources. Inc., 839 F.3d 658, 664 (7th Cir. 2016). Plaintiff points to two specific cases to

support his position: Hall v. Funk (N.D. 111. Mar. 18, 2019) and Glisson v. Indiana Dept, of

Corrections, 849 F.3d 372(7th Cir. 2017).

       In Hall V. Funk, a jury had found in favor of the defendant but found Wexford liable on

the Monell claim. Wexford subsequently moved for judgment as a matter of law or alternatively

for a new trial, arguing that the jury verdict was inconsistent. The Court concluded that the two

verdicts were not inconsistent because the jury may have concluded that the individual defendant

 lacked the requisite mental state for liability but that Wexford's policies were nonetheless

responsible for a violation of the Plaintiffs constitutional rights." In Hall the court explained that


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the subjective element in the deliberate indifference claim constituted the basis on which the jury

reached divergent findings on the liability of Wexford and the individual doctor. Glisson v.

Indiana Dept, ofCorrections involved a section 1983 suit alleging that the medical staff and the

company providing health services in an Indiana prison were deliberately indifferent to the

prisoner's serious medical needs. Glisson.

        The district court dismissed the Monell claims after granting summary judgment in favor

of the individual defendant doctors and nurses. The Seventh Circuit reversed that decision

explaining that the "case well illustrates why an organization might be liable even if its

individual agents are not." The Court finds Glisson and Hall to be persuasive and on point. In

both cases the respective Courts held that it was possible for an organization or corporate entity

to be held liable for a Monell claim of deliberate indifference even if the individual defendants

are not. Similarly, in this case, it is possible that a jury could find that the individual Defendants

were not deliberately indifferent to Plaintiffs medical needs, but rather that they could not

respond adequately because of Wexford's unconstitutional policies. As such, individual liability

is not a prerequisite to corporate liability in this case.

        White V. Woods. 48 F.4th 853 (7th Cir.2022)("White's left knee has been irreversibly and

permanently damaged as a result of not having his left knee injuries surgically addressed for two

years and nine months"). Appellant would state that White's mirrors the Appellant’s with the

exception of its appellant’s right knee. Since 2014 he has been refused adequate care and

treatment. The Court of Appeals should reverse summary judgment and move this case towards

trial and appoint counsel.




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                                          CONCLUSION


          Appellant is requesting that this Court of Appeals reverse the district court’s granting of

summary judgment in favor of Appellees Spratt, Schultz and Wexford Health Sources Inc., and

remand back to the district court to conduct a jury trial, appoint counsel for the Appellant and

any other relief this Court deems necessary.

                             DECLARATION OF INMATE FILING


I am James Daryl West, an inmate confined at Sago Palm Re-Entry Center. Today is Monday

June 19*, 2023. I am depositing the following motion: Initial Brief. For this case in the

institutions legal mail system with first class postage being prepaid by the institution on my

behalf.


I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TIWE AND

CORRECT(28 U.S.C. 1746; 18 U.S.C. 1621).

                                                                    X


                                                                  Si med\)n Monday, June 19,2023




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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY, James Daryl West, that I have placed a copy of the foregoing

motions in the hands of institutional officials here at Sago Palm Re-Entry Center entrusting the

further delivery by mailing via U.S. Postal Service to: Clerk of Court for the Court of Appeals

for the Eleventh Circuit at 56 Forsyth Street, N.W., Atlanta, GA 30303; Marie Rivas, Esq. of the

Office of the Attorney General at 3507 E. Frontage Rd., Suite 200, Tampa, FL 33607; and

Devang Desai, Esq. of Gaebe, Muellen, Antonelli and DiMatteo at 420 South Dixie Highway,

Floor 3, Miami, FL 33146 on this Monday, June 19, 2023.
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                                                    J^es Daryl        C#651314
                                                    Sago Palm Re-Mtry Center
                                                    ■500 Bay Bottom Road
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